       CASE 0:15-md-02666-JNE-DTS Doc. 117 Filed 09/27/16 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


In re: BAIR HUGGER FORCED AIR                   MDL No. 15-2666 (JNE/FLN)
WARMING PRODUCTS LIABILITY
LITIGATION


This Document Relates To:                       PRETRIAL ORDER NO. 14:
All Actions                                     Plaintiff Fact Sheet and Service
                                                Protocol



1.    This Order governs the form and service for the Plaintiff Fact Sheet (“PFS”) and

      Authorizations to be completed by all named Plaintiffs in all cases filed in or

      transferred to this MDL proceeding.

2.    Each Plaintiff shall serve Defendants’ lead counsel electronically, pursuant to an

      electronic service procedure to be agreed to by the parties, a completed and signed

      PFS in PDF format answering the questions posed in Exhibit A, completed and

      signed medical authorization (using the form attached as Exhibit B), and any

      responsive documents, in accordance with the schedule ordered by the Court in its

      Amended Scheduling Order, Pretrial Order No. 13 (and any amendments thereto).

      Thus, each Plaintiff who has a case pending in this MDL as of the date of this

      Order shall serve a completed and signed PFS, together with a completed and

      signed authorization and responsive documents, within 90 days of the date of this

      Order. For those Plaintiffs who commence their actions after the date of this Order

      or whose cases are transferred to this MDL proceeding after the date of this Order,

      a completed and signed PFS, and a completed and signed authorization and
     CASE 0:15-md-02666-JNE-DTS Doc. 117 Filed 09/27/16 Page 2 of 4




     responsive documents, shall be served no later than 90 days after the filing of their

     complaint or short-form complaint, or completed transfer of their case to this

     MDL proceeding, whichever is later.

3.   The information contained in each PFS shall be verified by the responding

     Plaintiff under oath. Plaintiffs’ responses shall be treated as answers to

     interrogatories under Fed. R. Civ. P. 33 and requests for production of documents

     under Fed. R. Civ. P. 34. Each PFS shall be signed and dated by the Plaintiff or

     the proper Plaintiff representative under penalty of perjury; however, they need

     not be notarized. Each authorization shall be signed and dated by the Plaintiff or

     the proper Plaintiff representative.

4.   Within four (4) weeks of receipt of a PFS, Defendants shall notify the individual

     Plaintiff’s counsel of any core deficiencies, defined as a lack of response to all

     questions in Section I, Section II, and Section III; Section IV, questions 1, 3, 7, 8,

     9, 10; Section V, questions 5, 6, and 7; Section VI, questions 1, 3, 6, 7, 8, and 9;

     Section VII, questions 1 and 2; Section 8, question 2; Section IX, questions 1, 3,

     and 4; or lack of signed medical authorizations, via e-mail and U.S. Mail. Co-

     Lead Counsel shall be copied on the email deficiency notice at an address or

     addresses designated by Co-Lead Counsel.

5.   If a deficiency letter is timely sent, and absent valid explanation or dispute by the

     Plaintiff, the case shall be excluded from the bellwether pool until the core

     deficiencies are remedied.




                                            2
     CASE 0:15-md-02666-JNE-DTS Doc. 117 Filed 09/27/16 Page 3 of 4




6.   The individual Plaintiff’s counsel shall respond in writing within three (3) weeks

     of the date of service of Defendants’ deficiency letter by either (1) curing the

     alleged deficiencies; (2) disputing the alleged deficiencies and setting forth

     reasons the PFS is not deficient; or (3) explaining why the alleged deficiencies

     cannot be timely cured.

7.   If the dispute cannot be resolved through the meet and confer process, Defendants

     may put the dispute on the court conference agenda. No case shall be deemed

     “deficient” before the matter is addressed to the Court.

8.   If a case appears on the agenda for two sequential court conferences without

     resolution, Defendants may make a motion for dismissal for failure to comply with

     this Court’s Pretrial Order as to the allegedly delinquent party. The parties’ prior

     dealings shall be deemed to satisfy the meet and confer requirements of the Local

     Rules and no additional meet and confer will be required prior to filing.

     Defendants shall file that motion 14 days in advance of a court conference;

     plaintiff shall respond 7 days in advance; and the matter shall be heard at the court

     conference.

9.   Deficiencies other than core deficiencies shall be addressed through a meet and

     confer process between Defendants and individual Plaintiff’s counsel. The

     procedure for bringing unresolved non-core deficiencies to the Court’s attention

     shall be addressed as part of the bellwether selection protocol, but the existence of

     such non-core deficiencies shall not be grounds for exclusion of the Plaintiff from

     the overall bellwether pool.


                                           3
      CASE 0:15-md-02666-JNE-DTS Doc. 117 Filed 09/27/16 Page 4 of 4




      IT IS SO ORDERED.

Dated: September 27, 2016               s/ Joan N. Ericksen
                                        JOAN N. ERICKSEN
                                        United States District Judge




                                    4
